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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )           Crim. No. 08-00739 (02) SOM;
                               )           Civ. No. 13-00484 SOM/RLP
           Plaintiff,          )
                               )           ORDER REFERRING TO THE NINTH
      vs.                      )           CIRCUIT DEFENDANT’S SECOND
                               )           MOTION UNDER 28 U.S.C.
 JOHN GOUVEIA, JR. (02),       )           § 2255; EXHIBIT A
                               )
           Defendant.          )
 _____________________________ )

           ORDER REFERRING TO THE NINTH CIRCUIT DEFENDANT’S
            SECOND MOTION UNDER 28 U.S.C. § 2255; EXHIBIT A

 I.          INTRODUCTION.

             This court previously denied an earlier § 2255 motion

 filed by Defendant John Gouviea, Jr.         That motion included the

 argument that relief was warranted because Jose Perez, an

 individual who had refused to testify in the trial, had become

 willing to testify.      The court did not rely on that circumstance

 because Perez ultimately indicated that he would not provide any

 testimony in any new proceeding.        Gouveia now moves under Rule

 60(b) of the Federal Rules of Civil Procedure for reconsideration

 of this court’s earlier ruling in light of what Gouveia says is

 Perez’s renewed willingness to testify.          See Exhibit A, attached

 to this order.     Perez appears to fluctuate, but most recently his

 counsel has reported that Perez is unwilling to testify.              This

 court does not now reach the merits of the motion.             Instead,

 because the Rule 60(b) motion is a “second or successive” § 2255

 motion, the court refers the matter to the Ninth Circuit Court of
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 Appeals pursuant to Ninth Circuit Rule 22-3(a) for certification

 under 28 U.S.C. § 2255(h).

 II.         FACTUAL BACKGROUND.

             On August 18, 2010, a jury convicted Gouveia of three

 drug charges.     See Verdict Form, Aug. 18, 2010, ECF No. 174.

 Gouveia’s crimes included: 1) one count of conspiring to

 distribute and possess with intent to distribute more than 500

 grams of a mixture or substance containing a detectable amount of

 methamphetamine, its salts, isomers, and salts of its isomers;

 and 2) two counts of possession with intent to distribute the

 same.    Id.

             On February 4, 2011, the court sentenced Gouveia to 292

 months in prison as to each count, with all terms to run

 concurrently.     See Judgment, ECF No. 231.        The court also

 sentenced him to 10 years of supervised release for each of the

 counts, with all terms to run concurrently, as well as a $300

 special assessment.      Id.

             On February 9, 2011, Gouveia appealed.           See ECF No.

 232.    The Ninth Circuit affirmed the judgment in a Memorandum

 Decision filed on February 23, 2012.         See ECF No. 484-1.       Gouveia

 petitioned for certiorari, but that was denied by the Supreme

 Court on October 1, 2012.       See 133 S. Ct. 188 (Oct. 1, 2012).

             On September 23, 2013, Gouveia filed his first Motion

 Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence


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 by a Person in Federal Custody.        See ECF No. 471.       In relevant

 part, Gouveia claimed that, in March 2013, he had communicated

 with Perez.    According to Gouveia, Perez said he would testify

 that, at the time Perez had placed monitored calls to co-

 Defendant Ramiro Hernandez, Perez had not known that Government

 agents were recording the calls.           This was in conflict with trial

 testimony by law enforcement agents.          Perez had refused to

 testify at trial, and this court held him in civil contempt while

 trial was proceeding and then, post-trial, imposed a criminal

 contempt sentence.      Gouveia’s 2013 motion was based on

 communications occurring long after Perez had completed his

 criminal contempt sentence.       Gouveia also claimed that Perez was

 willing to testify that Gouveia was innocent of the charges and

 played no role in the importing and distributing of the

 methamphetamine at issue in this case.          See Declaration of John

 Gouveia, Jr., ECF No. 472-5, PageID #s 5953-54.

             In a declaration dated July 11, 2014, however, Jose

 Perez stated, contrary to Gouveia’s contention, that Perez would

 not be a witness for either side or sign a declaration for either

 side.    He said, “I do not wish to have any further involvement in

 this case.”    Declaration of Jose Perez, ECF No. 516-1, PageID

 # 7419.    This position was consistent with Perez’s earlier

 refusals to testify at trial.




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             On July 28, 2014, the court denied Gouveia’s first

 § 2255 motion and declined to issue a certificate of

 appealability.     Given Perez’s continued refusal to testify, the

 court ruled that Gouveia had failed to establish the factual

 predicate for any claim based on Perez’s testimony.              See ECF No.

 519.   Gouveia appealed.     See ECF No. 522.       On October 20, 2014,

 the Ninth Circuit also denied Gouveia a certificate of

 appealability.     See ECF No. 541.

             On August 17, 2015, proceeding pro se, Gouveia filed a

 motion under Rule 60(b) of the Federal Rules of Civil Procedure,

 asking this court to vacate its judgment of August 25, 2015, and

 to reopen his § 2255 motion.       In support of his Rule 60(b)

 motion, Gouveia attached a new letter purporting to be from Perez

 to Gouveia that stated:

             Hey John[.] [H]ow are you doing? [H]ope your
             [sic] ok. I’m Sorry I Refused to testify at
             the evidentiary hearing. I was Just kind of
             Scared, but I gave it a lot of thought, and
             [am] ready to make things right. I’m willing
             to testify at a evidentiary hearing to tell
             the truth, I hope that its [sic] not to [sic]
             late.

                                            Jose Perez

             P.S.   Sorry I couldn’t do it earlier

 ECF No. 566-2.

             The court appointed counsel for Gouviea and, on

 November 13, 2015, ordered counsel to file a memorandum

 addressing whether Gouveia must obtain § 2255(h) certification

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 from the Ninth Circuit before proceeding with his

 “reconsideration” motion.       See ECF No. 570.

              This court also appointed counsel for Perez.            On

 November 20, 2015, counsel for Jose Perez sent a letter to

 Gouveia’s counsel, stating, “I spoke with Mr. Perez who is

 unwilling to give a statement, be interviewed, or otherwise

 respond to questioning regarding Mr. Gouveia’s case.             Mr. Perez’

 position in this regard remains unchanged since July 6, 2014,

 when he signed a declaration asserting he would not be a witness

 for the Petitioner or Respondent in CV No. 13-00484 SOM or CR No.

 08-00739 SOM.”     See ECF No. 588-10.

             On February 26, 2016, Perez sent this court a letter,

 stating, “I [am] Jose Perez[.] I’m writing this letter on my own

 free will.    I was in a case with co-defendant John Gouveia, Jr.

 and want to clear things up about the case.             I am willing to go

 to evidentiary hearing or whatever it takes.”            See ECF No. 580.

             In light of Perez’s letter dated February 25, 2016,

 counsel for Gouviea asked counsel for Perez whether Perez would

 indeed testify.     Ultimately, on March 21, 2016, Perez’s counsel

 sent an e-mail to Gouveia’s counsel indicating that Perez “will

 not testify on Mr. Gouveia’s behalf at an evidentiary hearing.

 If subpoenaed and called to testify he will invoke his 5th

 amendment privilege to remain silent.”          ECF No. 588-12.




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             In a filing on May 24, 2016, ECF No. 594, and during a

 telephone conference on May 26, 2016, Gouviea objected to a

 referral of his motion to the Ninth Circuit for § 2255(h)

 certification purposes.

 III.        ANALYSIS.

             A.    A District Court Lacks Jurisdiction To Address a
                   Second or Successive § 2255 Motion Absent a
                   Circuit Court Certification.

             In passing the Antiterrorism and Effective Death

 Penalty Act, Congress imposed “significant limitations on the

 power of federal courts to award relief to prisoners who file

 ‘second or successive’ habeas petitions.”           United States v.

 Lopez, 577 F.3d 1053, 1059 (9th Cir. 2009).             In 28 U.S.C.

 § 2255(h), Congress said:

             (h)   A second or successive motion must be
                   certified as provided in section 2244 by
                   a panel of the appropriate court of
                   appeals to contain–

                   (1)   newly discovered evidence that, if
                         proven and viewed in light of the
                         evidence as a whole, would be
                         sufficient to establish by clear
                         and convincing evidence that no
                         reasonable factfinder would have
                         found the movant guilty of the
                         offense; or

                   (2)   a new rule of constitutional law,
                         made retroactive to cases on
                         collateral review by the Supreme
                         Court, that was previously
                         unavailable.




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 See also 28 U.S.C. § 2244(b)(3)(A)(“Before a second or successive

 application permitted by this section is filed in the district

 court, the applicant shall move in the appropriate court of

 appeals for an order authorizing the district court to consider

 the application.”).

             The Ninth Circuit has defined this limitation as

 jurisdictional in nature.       Thus, in Ezell v. United States, 778

 F.3d 762 (9th Cir. 2015), the Ninth Circuit said, “Section

 2255(h)(2) creates a jurisdictional bar to the petitioner’s

 claims: ‘If the petitioner does not first obtain our

 authorization, the district court lacks jurisdiction to consider

 the second or successive application.’”          Id. at 765 (quoting

 Lopez, 577 F.3d at 1061).

             Clearly, if Gouveia’s Rule 60(b) motion is actually a

 second or successive § 2255 motion, this court lacks jurisdiction

 to address it unless he receives § 2255(h) certification.

             B.    The Pending Rule 60(b) Motion is Actually a Second
                   or Successive § 2255 Motion That Requires
                   § 2255(h) Certification Before This Court May
                   Adjudicate It.

             A defendant convicted of a crime in federal court is

 generally limited to one motion under § 2255.            A defendant may

 not bring a “second or successive” § 2255 motion without first

 obtaining certification under the exacting standards of 28 U.S.C.

 § 2255(h).    See United States v. Washington, 653 F.3d 1057, 1059

 (9th Cir. 2011).    “Because of the difficulty of meeting this

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 standard, petitioners often attempt to characterize their motions

 in a way that will avoid the strictures of § 2255(h),” including

 characterizing their petitions as being asserted under Rule 60(b)

 of the Federal Rules of Civil Procedure.           Washington, 653 F.3d at

 1059.

             Accordingly, courts examine whether a Rule 60(b) motion

 “is actually a disguised second or successive § 2255 motion” that

 must meet the certification requirements set forth in § 2255(h).

 Id. at 1060.     To make that determination, courts examine the

 substance of the motion to see whether the Rule 60(b) motion

 contains a “claim” that makes it a § 2255 motion.             See United

 States v. Buenrostro, 638 F.3d 720 (9th Cir. 2011).            Examples of

 Rule 60(b) motions making “claims” such that they should be

 treated as “second or successive” § 2255 motions include those in

 which: 1) a claim of constitutional error is raised that was

 allegedly omitted from the original § 2255 motion because of

 excusable neglect; 2) newly discovered evidence is presented that

 allegedly justifies revisiting a claim that was denied in the

 original § 2255 motion; 3) a subsequent change in substantive law

 is cited as justifying relief from the previous denial of a

 claim; 4) a new ground for relief is being raised; 5) an argument

 is made that the previous resolution of a claim was incorrect;

 and 6) the movant’s own conduct or counsel’s omissions allegedly




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 warrant relief.     See Washington, 653 F.3d at 1063 (citing

 Gonzalez, 545 U.S. at 530-32).

             If the motion does not contain a “claim” it is a proper

 Rule 60(b) motion.      Examples of proper Rule 60(b) motions include

 those asserting a defect in the integrity of the earlier § 2255

 proceeding such as a fraud on the court, see Buenrostro, 638 F.3d

 at 722, or those claiming that the court erred in making a

 procedural ruling (e.g., relating to a procedural default or

 statute of limitations) that caused the court not to reach the

 merits of the underlying claim, see Washington, 653 F.3d at 1063.

             Gouveia’s purported Rule 60(b) motion is clearly a

 “second or successive” § 2255 motion.          In his earlier motion,

 Gouveia contended that Jose Perez would testify that Gouveia was

 innocent of the charges and played no role in the importing and

 distributing of the methamphetamine at issue in this case.               See

 Declaration of John Gouveia, Jr., ECF No. 472-5, PageID #s 5953-

 54.   In denying the earlier motion, the court relied on Perez’s

 ultimate refusal to testify and Gouveia’s resulting inability to

 show any ground supporting relief.

             In his Rule 60(b) motion, Gouveia claims that Perez has

 changed his mind and is now willing to testify.            Gouveia says

 that, “[i]n light of this new development and new evidence,”

 the court should vacate its earlier judgment with respect to the

 denial of his § 2255 motion.       ECF No. 566, PageID # 10260.          In


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  Washington, the Ninth Circuit said that a Rule 60(b) motion based

  on newly discovered evidence was a motion making a claim and

  should be treated as a second § 2255 motion.           653 F.3d at 1063.

  Under Washington, Gouveia’s Rule 60(b) motion must be deemed a

  “second or successive” § 2255 motion for which Gouveia must get

  § 2255(h) certification before proceeding in this court.              This

  court need not reach the issue of whether Perez’s purported

  willingness to testify amounts to newly discovered evidence (the

  Government claims that newly available evidence is

  distinguishable from newly discovered evidence).            It is

  sufficient that Gouveia is asserting a “claim” that makes what he

  calls a Rule 60(b) motion actually a § 2255 motion.

              C.   The Court Refers Gouviea’s Second § 2255 Motion to
                   the Ninth Circuit for § 2255 Certification
                   Purposes, Leaving Nothing for This Court To
                   Dismiss.

              Ninth Circuit Rule 22-3(a) provides, “If a second or

  successive petition or motion, or an application for

  authorization to file such a petition or motion, is mistakenly

  submitted to the district court, the district court shall refer

  it to the court of appeals.”      Having determined that Gouveia’s

  Rule 60(b) motion is actually a disguised “second or successive”

  § 2255 motion that requires § 2255(h) certification before it may

  proceed in this court, the court refers the matter to the Ninth

  Circuit pursuant to Rule 22-3(a) for § 2255(h) certification



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  purposes.    This referral leaves nothing pending before this

  court.

  III.        CONCLUSION.

              Because Gouveia’s Rule 60(b) motion must be treated as

  a “second or successive” § 2255 motion, the court refers the

  motion to the Ninth Circuit pursuant to Rule 22-3(a) for

  § 2255(h) certification purposes.

              The Clerk of Court is directed to send this order,

  including Exhibit A, to the Ninth Circuit.             The Clerk of Court is

  also directed to terminate Gouveia’s motions and to close this

  case pending the Ninth Circuit’s § 2255(h) certification

  decision.


              IT IS SO ORDERED.

              DATED: Honolulu, Hawaii, May 27, 2016.




                                       /s/ Susan Oki Mollway
                                      Susan Oki Mollway
                                      United States District Judge




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